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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,
v.
GLR CAPITAL MANAGEMENT, LLC,
GLR ADVISORS, LLC, JOHN A.
GERINGER, CHRISTOPHER A. LUCK,
and KEITH E. RODE;

'Defendants,
and

GLR GROWTH FUND, L.P.,
Relief Defendant.

 

 

 

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CASE NO. CV12-02663 (EJD)

{-PRQ-PQSEB] ORDER APPOINTING
SPECIAL MASTER

Judge: Edward J. Davila

[PROPOSED] ORDER APPOINTING sPEcIAL MASTER
CV12-02663 (EJD)

 

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The Court having received and reviewed the proposed candidates for appointment as a
special master in this matter for the purpose of preparing the 2012 and 2013 tax returns of the
Relief Defendant GLR Growth Fund, LP (the “Fund”) (Dkts. 139, 1140, 143) and other duties that
may arise, and after hearings on January 27, February 3 and February 5, 2014, and good cause
appearing therefor:

1. IT IS HEREBY ORDERED that Mr. Gregory Sterling is appointed by the Court
as Special l\/Iaster in this matter.~

2. IT IS HEREBY ORDERED that l\/Ir. Joseph Albero and the accounting firm of
Franl<, Rimerman t Co. LLP are appointed by the Court as the accountants to assist the Special
Master in this matter (“Accountants”).

3. IT IS HEREBY ORDERED that the duties of the Special Master, as assisted by '
the Accountants, are as follows:

A. Prepare 2012 and 2013 tax returns for the Fund.

B. Execute the tax returns on behalf of the Fund, tile them With the
appropriate taxing agencies, and mail copies of the appropriate tax returns
to the investors of the Fund.

C. Negotiate With tax authorities for abatement of penalties due to the
circumstances of this case and the desire to not prejudice investors.

D. Such other and further duties as may be ordered by the Court.

4. IT IS HEREBY ORDERED that the Special Master and Accountants shall, to the
best of his/her ability, prepare the Fund’s 2012 and 2013 tax returns in conformance With normal
accounting practices, but the Special Master and Accountants and his/her firm shall have no
personal liability for the truthfulness or authenticity of the financial information provided by the
Fund or obtained from records of the Fund for the purposes of preparing, signing, filing, and
mailing the tax returns of the Fund.

5. IT IS HEREBY ORDERED that the Special Master and Accountants and his/her
firm shall charge at his/her normal hourly rate(s) and that the Fund shall pay the Special Master’s

and Accountants’ fees and expenses for the preparation of the Fund’s 2012 and 2013 tax returns,

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CV12-02663 (EJD)

 

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subject to the approval of this Court (see Dkts. 139, 140), except that (a) the fee rates of the
Accountants shall be capped at a highest rate not to exceed $495 per hour, with their other rates in
accordance with their normal rate chart, and (b) the Special l\/Iaster shall review the Accountants’
fee billings and shall promptly submit them to the Court, for payment subject to the approval of
the Court.

6. IT IS HEREBY ORDERED that the Fund shall pay all necessary and reasonable
fees and expenses charged by the Special l\/Iaster and Accountants and his/her flrm for preparing,
reviewing, flling, and mailing of tax returns of the Fund, subject to the approval of this Court.

7. IT IS HEREBY ORDERED that, subject to the approval of this Court, the
Special l\/Iaster is empowered to hire his/her own legal counsel should the Special l\/Iaster
conclude, in his/her own professional discretion, that the Special l\/Iaster needs legal advice
beyond his/her own legal knowledge; any legal fees incurred by the Special l\/Iaster shall be
included in his/her billings and shall be reimbursed by the Fund, subject to the approval of this
Court.

8. IT IS HEREBY ORDERED that the Special l\/Iaster and Accountants have
access to the documents and records concerning the Fund in the possession, custody, or control of
the Securities and Exchange Commission (°°SEC”) that may be reasonably necessary to prepare
and file the tax returns of the Fund, provided the Special l\/Iaster and the Accountants agree to
comply with the SEC’s policy regarding access‘to non-public information, and specifically that
the Special l\/Iaster and Accountants establish and maintain such safeguards as are necessary and
appropriate to protect the confidentiality of the information, documents, and information derived
from such documents to which access is granted. Other than as set forth above, the Special
l\/Iaster and Accountants will:

A. l\/Iake no public use of these files or information without prior approval of the
SEC;

B. Notify the SEC of any legally enforceable demand for the tiles or information
prior to complying with the demand, and assert such legal exemptions or privileges on the SEC’s

behalf as the SEC may request; and

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CV12-02663 (EJD)

 

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C. Not grant any other demand or request for the files or information without prior
notice to and lack of objection by the SEC.

9. IT IS HEREBY ORDERED that the Special Master and Accountants shall
follow as guidelines the “Billing lnstructions For Receivers In Civil Actions Commenced By The
U.S. Securities And Exchange Commission” (“Guidelines”) attached hereto as Exhibit 1. The
Court recognizes that the duties of the Special Master and Accountants are narrower than the
receiver duties set forth in the Guidelines, and that therefore not all provisions of the Guidelines
are literally applicable to the Special Master and Accountants, but the Court expects that the
Special Master and Accountants shall follow the Guidelines to the extent practicable and
applicable to their duties, and consistent with the Court’s concern for efficient work and
preservation of capital for the benefit of investors.

10. IT IS HEREBY ORDERED that the Court shall Supervise the performance of
this Order and will adjudicate any disputes or disagreements, if any, concerning the performance

or interpretation of this Order.

IT IS SO ORDERED.

Dated: Februaryll ,2014 gap 0 w

THE HONORABLE EDWARD J. DAVILA
United States District Judge

 

 

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CV12-02663 (EID)

 

